CRIMINAL COVERSHEET
U.S. District Court, Western District of Oklahoma

Petty LC] Misdemeanor [| Felony lv USAO No.: Case No.:_CR-24-213-R
Charging Document: Indictment No. of Defendants: 1 Total No. of Counts:_ 1 Sealed: Y [
Forfeiture: Y[] OCDETF:Y[~) McGirt;¥ [7 Warrant[” Summons[¥ Noticel! NIV
NI] Ni[¥ Niv) Companion Case No. (if any):
DEFENDANT INFORMATION: By: mh
Name: Mitchell Green
Alias(es): . , Address:.
FBI No.:
DOB: 1980 SSN: 8366 Race: White Interpreter: Y [ N VV
Sex: M [/] F [ | Juvenile: Y [| N lV! Language/Dialect: English
PRIOR MAGISTRATE
DEFENDANT STATUS/RECOMMENDATION: JUDGE PROCEEDINGS:
[¥| Not in Custody [V) Detention Requested Complain: Y[_! NIV
Li Type of Bond: Magistrate Judge Case No.: MJ-
[J In Custody at:
Inmate/Prisoner/Register No.: Previously Detained: Y | | N[¥v
ATTORNEY/AGENCY INFORMATION:
[| Public Defender | Name: Al Hoch AUSA: _ Brandon Hale
Address:
Co CJA Panel Agent /Agency: HSI
lv] Retained
Phone: (405) 590-9228 Local Officer/Agency:
CHARGING DETAILS
Count(s) . U.S.C. Citation(s) _Offense(s) Charged _ Penalty
1 18 U.S.C. § 2252A(a\(2) Receipt and Distribution of Child NLT 5 years and NMT 20 years imprisonment and/or
Pornography $250,000 fine; NLT 5 years S/R or up to life; $100

8/A; $35,000 child porn 8/A ; $5,000 justice for
victims of human trafficking S/A.

RECEIVED

MAY 21 2024

Clerk, U.S. District Court
WEST.DIST.OF OKLA.

Signature of AUSA; s/Brandon Hale Date: 95/21/2024

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